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                            UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION


   WENDY DAVIS,                            )       Case No.: 3:22-CV-00301
                                           )
             Plaintiff,                    )
                                           )       Judge HELMICK
   -vs-                                    )
                                           )
   UNIVERSITY OF TOLEDO,                   )       ORDER
                                           )
             Defendant.                    )



      This is before the Court on the Motion of Plaintiff for a thirty (30) day extension of time

to respond to Defendant’s Motion for Summary Judgment. For good cause shown, such motion is

found well-taken and is hereby GRANTED.

      Plaintiff shall have until January 13, 2024 in which to respond to Defendant’s motion for

Summary Judgment.

IT IS SO ORDERED

                                           _________________________________
                                           JUDGE




                                               1
